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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

Criminal Case No. 23-CR-00106-CNS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

1. CESAR OCTAVIO VEGA CHACON,
2. JOSE EZEQUIEL ALVARADO-VILLARREAL,
3. ABYMELEC ALVAREZ-MIRANDA,
4. MANUEL CAMPOS,
5. SUSANA ELIZABETH CARRENO-HERNANDEZ, a/k/a “La Loba,”
6. FNU LNU, a/k/a “UM-5548,”
7. ALBERTO CERVANTES-SALAZAR,
8. LUIS DANIEL FELICIANO DEJESUS, a/k/a “Panda,”
9. URIEL FLORES, a/k/a “Kilo,”
10. FNU LNU, a/k/a “Ayon,”
12. JOSE ANTONIO SANCHEZ-OLMEDO, a/k/a “Luis Antonio Sanchez-Olmedo,” a/k/a
    “Nino,” a/k/a “Ninos,” a/k/a “Miguel,”
13. VICTOR EDEL SANDOVAL-PORTELA,
14. LEONEL VILLARREAL-OLIVAS,
15. JUAN DEMETRIO VILLALPANDO JR., a/k/a “Junior,”
16. JOSE MISAEL ALCARAZ CORTEZ,
17. YULISSA ALELI CASTANEDA MEDRANO,
18. XIOMARA FAITH FABRES,
19. ERASMO FRANCO-GUTIERREZ,
20. CHRISTIAN MERCADO,
21. JOSE ABEL OTERO-CORREA,
22. IAN MICHAEL PAYNE, JR.,
23. STEPHANIE SAAVEDRA,
24. JUAN ANTONIO SERRANO-LOPEZ, and
25. JUAN DEMETRIO VILLALPANDO DOMINGUEZ,

      Defendants.



  GOVERNMENT’S MOTION TO DESIGNATE CASE AS COMPLEX PURSUANT TO
                     18 U.S.C. ' 3161(h)(7)(B)(ii)


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       NOW COMES THE UNITED STATES OF AMERICA, by Cyrus Y. Chung,

Assistant United States Attorney, and requests that this Court designate the above-

captioned case as complex pursuant to 18 U.S.C. ' 3161(h)(7)(B)(ii).

       In support of this motion, the government asserts that, under 18 U.S.C.

' 3161(h)(7)(B)(ii), the nature of this prosecution would make it unreasonable to expect

adequate preparation for pre-trial proceedings and for the trial itself within the time limits

established by this statute.       The government=s argument is based on the following:

       1.        The overall investigation began in December 2018, originally targeting

Candelaria Vallejo-Gallo, who ran a methamphetamine, fentanyl, heroin, and cocaine

distribution cell in the Denver metropolitan area.          That phase of the investigation

culminated in the February 2020 indictment of 28 individuals, including Vallejo-Gallo, in

case 20-cr-28-RM.         26 of those defendants have been arrested, all of whom have since

pleaded guilty.

       2.        Following those arrests, the investigation continued into Vallejo-Gallo’s

Mexico-based sources of supply, Isaias Campos-Rutiaga (since presumed deceased),

and defendant Juan Demetrio Villalpando, Jr. a/k/a “Junior,” resulting in the instant First

Superseding Indictment.

       3.        The first phase of the investigation alone involved approximately seven

months      of   Title-III,   Court-authorized   interceptions   of   wire   and/or   electronic

communications occurring on 15 different phones, which included extensions or renewals

of some phone lines.          There are an estimated 43,810 call records which will be part of

the discovery in this case just stemming from those wiretaps alone.


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       4.     During the course of the investigation, more than 6,500 of those calls were

deemed to be pertinent calls involving criminal activity.

       5.     Because much of the evidence in this indictment arose as a result of the

wiretaps, the defendants will need full discovery of all of this information in order to

prepare for pre-trial motions such as any motion to suppress the wiretaps.      Clearly, the

defendants will require a substantial amount of time to review the material and to prepare

their motions.

       6.     Moreover, many of the conversations intercepted on the wiretaps and

deemed to be pertinent calls during the course of these wiretaps were in the Spanish

language.

       7.     During the initial phase of the investigation, there were approximately four

different stationary pole cameras used as well as two surveillance cameras used at six

separate locations for a period of time.    These cameras resulted in the recordings of

hundreds and possibly thousands of hours of recordings of surveillance.         In addition,

there were hundreds of tolls records gathered.          All of these means of gathering

information generate document production which will be a component of the discovery in

this case.

       8.     Additionally, there were search warrants served at eight different locations

that were executed during this phase of the investigation in the state of Colorado.   During

the execution of these warrants, evidence was seized.       Agents also executed numerous

search warrants of cellular telephones and similar electronic devices.

       9.     Due to the number of defendants and the vast amount of discovery,


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including numerous tape recordings of conversations of the defendants, reports,

surveillance logs, and wiretap documents, the Honorable Raymond Moore, United States

District Judge for the District of Colorado, designated 20-cr-28-RM a complex case

pursuant to 18 U.S.C. § 3161(h)(7)(B)(ii). See United States v. Candelaria Vallejo-Gallo

et al., 20-cr-28-RM, ECF No. 179.

       10.    This case involves even more discovery than that present in 20-cr-28-RM.

In addition to the discovery for 20-cr-28-RM, which is necessary to turn over to the

defense to disclose the overall nature of the investigation and the conspiracy charged in

Count 1 of the First Superseding Indictment, the discovery for the continuing investigation

into Campos-Rutiaga alone, for example, has over 39,000 pages of administrative

subpoena material and over 10,000 pages of other investigative material documenting an

investigation that spanned over two years.   The investigation into Villalpando has at least

95,000 more pages of administrative subpoena material, and over 18,500 pages of

additional investigative material spanning the same time frame.

       11.    Each investigation, furthermore, involved numerous search warrants.

Some 30 search warrants were obtained in the investigation into Campos-Rutiaga, and

approximately 35 more were obtained in the Villalpando investigation.       Many of these

search warrants involved procuring significant amounts of information from electronic

communication service or remote computing service providers, including backups of

mobile devices.

       12.    The Villalpando investigation also involved two further wiretaps, as well as

physical search warrants in California and Colorado that resulted in the seizure of


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numerous electronic devices.         Forensic extraction and analysis of those devices

conducted pursuant to search warrant is ongoing and will result in more discovery for the

above-captioned defendants.

       13.    As such, the government submits that it is unreasonable to expect adequate

preparation for pretrial proceedings or for the trial itself within the time limits established

by Title 18, United States Code, Section 3161.

       14.    The First Superseding Indictment charges twenty-four defendants with

conspiracy to distribute and possess with the intent to distribute various types and

amounts of illegal narcotics and seven more with conspiracy to commit money laundering.

       15.    With respect to pre-trial litigation, the government anticipates (1) discovery

motions; (2) motions attacking the face of the indictment; (3) motions to suppress the

wiretaps; (4) motions to suppress physical evidence; (5) motions to suppress statements;

(6) motions relating to the admissibility of evidence under Rules 404(b), 608, and 609 of

the Federal Rules of Criminal Procedure; and (7) motions relating to the admissibility of

co-conspirator statements.       The government further believes that the defense will

require additional time to adequately investigate these issues, to prepare their motions,

and to litigate these motions prior to trial.

       16.    Additionally, tens of thousands of pages of discovery have been disclosed

this day, and the government anticipates that there will be thousands of pages more of

discovery in this case, given the complex and voluminous nature of the case.

       17.    Further, defendant number 16, JOSE MISAEL ALCARAZ CORTEZ, was

recently arrested in the United States District Court for the Central District of California


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and has not yet appeared in the District of Colorado.       On June 7, 2023, ALCARAZ

CORTEZ was released on bond and given until June 28, 2023 to appear in the District of

Colorado.      Defendant number 25, JUAN DEMETRIO VILLALPANDO DOMINGUEZ,

was arrested in the Central District of California as well.         On May 15, 2023,

VILLALPANDO DOMINGUEZ was detained there, but has not yet been transported to or

appeared in the District of Colorado.

         18.   Given the number of defendants, the amount of discovery to be reviewed

and the complexity of the charges, the government believes that the ends of justice will

be served by the Court entering a complex case designation under 18 U.S.C.

' 3161(h)(7)(B)(ii) and continuing the 70-day trial deadline by 180 days.        Such a

continuance outweighs the best interests of the public and the defendants in a speedy

trial.

         19.   On June 9, 2023, undersigned counsel emailed a copy of this motion to all

of the attorneys representing defendants who have appeared in this District in this case.

Counsel for defendants Luis Daniel Feliciano DeJesus, Uriel Flores, Christian Mercado,

Stephanie Saavedra, Susana Elizabeth Carreno-Hernandez, Juan Antonio Serrano-

Lopez, and Jose Abel Otero-Correa specifically responded to the email and stated they

had no objection to the motion.          Counsel for defendants Xiomara Fabres, Alberto

Cervantes-Salazar, and Ian Michael Payne had all previously indicated that they do not

object to a declaration of complexity.




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      20.    Wherefore, the government respectfully requests that the Court grant the

Government=s Motion for a Complexity Designation, declare the case complex under Title

18, United States Code, Section 3161, and continue the 70-day trial deadline under the

Speedy Trial Act by 180 days.

      Dated this 9th day of June, 2023.



                                          RESPECTFULLY SUBMITTED,

                                          COLE FINEGAN
                                          UNITED STATES ATTORNEY
                                          DISTRICT OF COLORADO

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                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 9, 2023, I electronically filed the foregoing
GOVERNMENT’S MOTION TO DESIGNATE CASE AS COMPLEX PURSUANT TO 18
U.S.C. ' 3161(h)(7)(B)(ii) with the Clerk of the Court using CM/ECF, which will send
notification of such filing to all counsel of record in this case.

                                       By: s/ Stephanie Graham
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